                      UNITED STATES DISTRICT COURT

                      EASTERN DISTRICT OF LOUISIANA

 PSARA ENERGY, LTD.                          CIVIL ACTION

 VERSUS                                      NUMBER: 18-04111

 SPACE SHIPPING, LTD.; GEDEN                 SECTION "B" (2)
 HOLDINGS LTD.; ADVANTAGE START
 SHIPPING, LLC; GENEL DENIZCILIK             JUDGE LEMELLE
 NAKLIYATI A.S. A/K/A GEDEN
                                             MAGISTRATE WILKINSON
 LINES; ADVANTAGE TANKERS, LLC;
 ADVANTAGE HOLDINGS, LLC;
 FORWARD HOLDINGS, LLC; MEHMET
 EMIN KARAMEHMET; GULSUN NAZLI
 KARAMEHMET – WILLIAMS; and
 TUĞRUL TOKGÖZ


                      MOTION TO VACATE ATTACHMENT

         NOW INTO COURT, through undersigned counsel, comes Advantage Start

Shipping, LLC to move the Court for an order vacating the attachment of the

M/V ADVANTAGE START, for the reasons contained in the attached

Memorandum in Support.

                                       Respectfully submitted,

                                       PHELPS DUNBAR LLP


                                       BY:    s/ Kevin J. LaVie
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                                                Attorneys for Defendant,
                                                      Advantage Start Shipping,
                                                      LLC


                            CERTIFICATE OF SERVICE

         I HEREBY CERTIFY that on the 11th day of May, 2018, I electronically filed

the foregoing pleading with the Clerk of Court by using the CM/ECF system

which will send a notice of electronic filing to all counsel who are CM/ECF

participants.



                                        s/ Kevin J. LaVie
                                        KEVIN J. LAVIE




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